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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

 LARISSA WHIPPLE, individually and on behalf
 of all others similarly situated,                    Case No.:

                              Plaintiff,              CLASS ACTION

        v.                                            JURY TRIAL DEMANDED

 JOHNSON & JOHNSON CONSUMER INC.

                              Defendant.


                               CLASS ACTION COMPLAINT

       Plaintiff, Larissa Whipple (“Plaintiff”), on behalf of herself and all others similarly

situated, brings this class action against Defendant Johnson & Johnson Consumer Inc. (“Johnson

& Johnson”) and alleges on personal knowledge, investigation of her counsel, and on information

and belief as follows:

                                      INTRODUCTION

         1.     This is a nationwide class action brought by Plaintiff on behalf of herself and

 other similarly situated consumers who purchased various OGX branded Shampoo and

 Conditioner Products (collectively, the “Products” or “OGX Products”) for personal or

 household use and not for resale (“Class” or “Class Members”).

         2.     Plaintiff purchased the Products because of Johnson & Johnson’s uniform false

 representation that the Products would smooth, nourish, soften, repair, and/or revive her hair.

 Undisclosed by Defendant to Plaintiff and Class Members and therefore unknown to Plaintiff

 and Class Members, the Products contain an ingredient or combination of ingredients that

 causes significant hair loss and/or scalp irritation upon proper application. At least one
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ingredient in the Products, DMDM hydantoin, is a formaldehyde donor known to slowly leach

formaldehyde when coming into contact with water.

       3.      Formaldehyde is a well-known human carcinogen that can cause cancer and

other harmful reactions when absorbed into skin. DMDM hydantoin has been used as a

preservative in Johnson & Johnson products for well over a decade; however, the use of DMDM

hydantoin as a preservative creates an entirely unnecessary risk because various safer natural

alternatives exist. As such, the Products are rendered dangerous and unsafe for sale as over-the-

counter hair smoothing shampoo products.

       4.      Defendant failed to properly warn consumers of the risks and dangers attendant

to the use of such a strong ingredient on their hair and scalp – even well after Defendant knew

or should have known of the Products’ hazards. Defendant continued to conceal the dangers of

the Products by failing to appropriately and fully recall the Products, by continuing to claim the

Products were safe when properly applied, and by failing to warn consumers of the dangers

attendant to the Products’ use.

       5.      Defendant’s uniform acts and omissions in connection with the development,

marketing, sale and delivery of the Products violate Illinois’ consumer protection laws,

constitute common law fraud, and unjustly enrich Defendant.

       6.      Johnson & Johnson labeled, advertised, promoted and sold the Products targeting

both men and women who wanted smooth, shiny, soft, nourished, and healthy hair.

       7.      The Products contain uniform misrepresentations in large bold font on the

Products’ front labels about nourishing, reviving, enhancing natural softness, and repairing

damaged hair and leaving hair thicker, fully, and healthier.

       8.      Through its labeling and an extensive marketing campaign, including through its


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website and online advertisements, Johnson & Johnson made a number of affirmative

misrepresentations: that the Products contain special formulas (e.g. “Argan Oil, Biotin and

Collagen, Coconut Oil, Pomegranate”) intended to nourish and revive damage or dry hair, add

softness and shine, and prevent frizzing and tangling; and that the Products “deeply nourish,”

“gently cleanse,” and “repair hair.”

        9.      However, the Products’ formula contains an ingredient, or combination of

ingredients, that has caused Plaintiff and thousands of consumers to experience hair loss and/or

scalp irritation.

        10.     DMDM hydantoin is found, inter alia, in the following Products as stated on the

Products’ back labels:

                        Below is the ingredient list located on the back label of the OGX Biotin
                         + Collagen Shampoo:




                        Below is the ingredient list located on the back label of the OGX Biotin
                         + Collagen Conditioner:




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              Below is the ingredient list located on the back label of the OGX
               Renewing Argan Oil of Morocco Shampoo:




              Below is the ingredient list located on the back label of the OGX
               Renewing Argan Oil of Morocco Conditioner:




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              Below is the ingredient list located on the back label of the OGX Anti-
               Breakage and Keratin Oil Shampoo:




              Below is the ingredient list located on the back label of the OGX Anti-
               Breakage and Keratin Oil Conditioner:




              Below is the ingredient list located on the back label of the OGX Detox
               + Pomegranate & Ginger Shampoo:




              Below is the ingredient list located on the back label of the OGX Detox
               + Pomegranate & Ginger Conditioner:




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              Below is the ingredient list located on the back label of the OGX Marula
               Oil Conditioner:




              Below is the ingredient list located on the back label of the OGX Nicole
               Guerriero Midnight Kisses Shampoo:




              Below is the ingredient list located on the back label of the OGX Nicole
               Guerriero Midnight Kisses Conditioner:




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              Below is the ingredient list located on the back label of the OGX Nicole
               Guerriero Mistletoe Wishes Shampoo:




              Below is the ingredient list located on the back label of the OGX Nicole
               Guerriero Mistletoe Wishes Conditioner:




              Below is the ingredient list located on the back label of the OGX Nicole
               Guerriero Ice Berry Queen Shampoo:




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              Below is the ingredient list located on the back label of the OGX Nicole
               Guerriero Ice Berry Queen Conditioner:




              Below is the ingredient list located on the back label of the OGX Extra
               Strength Hydrate & Repair and Argan Oil of Morocco Shampoo:




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              Below is the ingredient list located on the back label of the OGX Extra
               Strength Hydrate & Repair and Argan Oil of Morocco Conditioner:




              Below is the ingredient list located on the back label of the OGX Ever
               Straightening and Brazilian Keratin Therapy Shampoo:




              Below is the ingredient list located on the back label of the OGX Ever
               Straightening and Brazilian Keratin Therapy Conditioner:




              Below is the ingredient list located on the back label of the OGX Kandee


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                 Johnson Candy Gumdrop Shampoo:




                Below is the ingredient list located on the back label of the OGX Kandee
                 Johnson Candy Gumdrop Conditioner:




                Below is the ingredient list located on the back label of the OGX Kandee
                 Johnson Frosted Sugar Cookie Shampoo:




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                Below is the ingredient list located on the back label of the OGX Kandee
                 Johnson Frosted Sugar Cookie Conditioner:




                Below is the ingredient list located on the back label of the OGX Kandee
                 Johnson Sparkling Cider Shampoo:




                Below is the ingredient list located on the back label of the OGX Kandee
                 Johnson Sparkling Cider Conditioner:


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                Below is the ingredient list located on the back label of the OGX
                 Quenching + Coconut Curls Shampoo:




                Below is the ingredient list located on the back label of the OGX
                 Quenching + Coconut Curls Conditioner:




                Below is the ingredient list located on the back label of the OGX Hydrate
                 + Defrizz and Kukui Oil Conditioner:




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                         Below is the ingredient list located on the back label of the OGX Youth
                          Enhancing + Sake Essence Conditioner:




           11.     In fact, for approximately a decade, Johnson & Johnson has known that DMDM

    hydantoin can cause or contribute to hair loss and scalp irritation when used as a preservative

    in hair products, including shampoo and conditioner products. In August 2012, Johnson &

    Johnson announced plans to remove DMDM hydantoin, and other similar ingredients, from all

    consumer products by the end of 2015. 1

           12.     Upon information and belief, Johnson & Johnson did in fact remove DMDM

    hydantoin from existing consumer products at that time. However, when Johnson & Johnson


1
  See NY Times Article, “Johnson & Johnson to Remove Formaldehyde From Products”, dated
August 15, 2012 found at https://www.nytimes.com/2012/08/16/business/johnson-johnson-to-
remove-formaldehyde-from-products.html (last accessed on June 7, 2021).


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    acquired Vogue International, including their line of OGX products, Johnson & Johnson failed

    to change the ingredient profile of the products that did not maintain the same standards for

    consumer safety. Since 2016, Johnson & Johnson has continued to market, sell and profit off

    of the Products that contain ingredients knew could harm consumers.

           13.     Johnson & Johnson’s own website about consumer safety says the following

    about preservatives used in consumer products:

           “Many preservatives do not meet our safety and care standards. Examples of
           preservatives that we will not use in any skin care product include bromochlorophen,
           formaldehyde, paraformaldehyde, formic acid, bronopol, dichlorobenzyl alcohol,
           triclocarban, p-chloro-m-cresol, triclosan, methenamine, ketoconazole, silver citrate,
           thimerosal,      chloroacetamide,      5-bromo-5-nitro-1,3-dioxane,     butylparaben,
           isobutylparaben, and benzylparaben. In addition, examples of preservatives that don’t
           meet our standards for baby products also include methylparaben, ethylparaben,
           propylparaben, iodopropynyl butylcarbamate, quaternium-15, DMDM hydantoin,
           imidazolidinyl urea, and diazolidinyl urea.” 2

           14.     Despite having public knowledge since at least 2012 that DMDM hydantoin, as

    a formaldehyde donor, can cause or contribute to hair loss and scalp irritation, Johnson &

    Johnson has inexplicably continued to include this ingredient as a preservative in some of its

    OGX products while simultaneously (1) not using DMDM hydantoin as a preservative in many

    of its other OGX products, (2) not using DMDM hydantoin in other Johnson & Johnson brands

    of shampoo and conditioner, and (3) not using DMDM hydantoin in identical OGX products

    sold in other countries.

           15.     Upon information and belief, despite Johnson & Johnson’s past acknowledgment

    that use of DMDM hydantoin was not good for consumers including babies, it has not made any

    attempt to reformulate the OGX Products containing DMDM hydantoin in the United States




2
    https://safetyandcarecommitment.com/ingredients/preservatives, (last accessed June 7, 2021).


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since acquiring the brand in 2016. Defendant has, in fact, reformulated the OGX Products in

other countries.

       16.     Although Johnson & Johnson was, or should have been, aware of the high

potential for toxicity or allergic reaction caused by one or more of the ingredients in the OGX

Products, it has failed and continues to fail to warn consumers about possible reactions,

including hair loss and scalp irritation on any of the OGX Products’ labeling.

       17.     Nowhere on the package labeling or on Johnson & Johnson’s websites or other

marketing materials did Johnson & Johnson warn Plaintiff and members of the Class that they

were at risk of significant hair loss and/or scalp irritation upon proper application of the

products. Accordingly, Johnson & Johnson misled and deceived the public, and placed its

customers in harm’s way, all for the sake of increased profits.

       18.     U.S. consumers reasonably expect that their hair care products will not cause

significant hair loss and/or scalp irritation because of defective design and manufacturing or

because of inadequate research of due diligence. In addition, U.S. consumers had no expectation

that the OGX Products would or could cause scalp irritation and/or cause their hair to fall out.

       19.     Further, consumers reasonably expect that if Johnson & Johnson, the company

primarily responsible for developing, manufacturing, marketing and distributing the OGX

Products, knew that the OGX Products would or could cause irritation and/or hair loss (whether

by proper application or by misapplication), Johnson & Johnson would make a disclosure to

consumers as soon as it determined there was a widespread problem, rather than attempting to

conceal the problem. By downplaying, concealing and misrepresenting the Products and the

safety and risks of their use, Johnson & Johnson failed in its duty to provide consumers with

adequate information. Johnson & Johnson continued to create and perpetuate a false public


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perception that there was little or no risk of harm from the use of its OGX Products even

knowing of the Products’ dangers and despite previously stating their commitment to removing

such ingredients from their products. Moreover, Johnson & Johnson’s efforts to conceal and

downplay the hundreds if not thousands of complaints of Class Members who have lost their

hair or endured scalp irritation, as a result of using the Products as intended, comprised a pointed

attack on consumers.

       20.     Defendant manufactures, advertises, markets, distributes, and sells the OGX

Products throughout the United States, and in Illinois. As alleged with specificity herein,

Defendant did so through an extensive, uniform, nationwide advertising and marketing

campaign, specifically marketing the Products as shampoos and conditioners that make hair

“fuller, smoother, straighter, curlier, or bouncier and smell irresistible.”

       21.     Johnson & Johnson labeled, advertised, promoted and sold the OGX Products

targeting men and women who wanted to safely nourish, cleanse, and repair hair in order to

obtain smooth, shiny, and healthy hair. Through an extensive marketing campaign and via its

OGX website and packaging, Johnson & Johnson made a number of affirmative

misrepresentations, including that the Products were formulated to safely nourish, cleanse,

revive, and repair hair in order to obtain the desired results.

       22.     However, Johnson & Johnson knew but failed to disclose to Plaintiff and the

putative Class the danger of hair loss and/or scalp irritation caused by one or more ingredients

in the Products, including the formaldehyde donor ingredient DMDM hydantoin.

       23.     Defendant failed to properly warn consumers of the risks and dangers attendant

to the use of such a strong preservative and human toxicants on their hair and scalp – even well

after Defendant knew or should have known of its hazards. Defendant continued to conceal the




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dangers of the Products by failing to recall the Products and failing to reformulate the Products

like Defendant has in other countries.

       24.     As a result of Defendant’s misconduct and misrepresentations, Plaintiff and

putative Class Members have suffered injury in fact, including economic damages.

       25.     Plaintiff brings this suit to halt the unlawful sales and marketing of the Products

by Defendant and for economic damages she sustained as a result. Given the massive quantities

of the Products sold all over the country, this class action is the proper vehicle for addressing

Defendant’s misconduct and for attaining needed relief for those affected.

                                            PARTIES
       26.     Plaintiff Larissa Whipple is and was at all times relevant to this matter a resident

of the state of Illinois residing in Davis, Illinois, which is in Stephenson County.

       27.     Defendant Johnson & Johnson is a corporation organized, existing, and doing

business under and virtue of the laws of the state of New Jersey, with its office and principal

place of business located at One Johnson & Johnson Plaza, New Brunswick, New Jersey 08933.

At all times Johnson & Johnson manufactured, marketed, designed, promoted and/or distributed

the Products nationwide, including in Illinois.

                                JURISDICTION AND VENUE

       28.     This Court has personal jurisdiction over Defendant in this matter. The acts and

omissions giving rise to this action occurred in the state of Illinois. Defendant has been afforded

due process because it has, at all times relevant to this matter, individually or through its agents,

subsidiaries, officers and/or representatives, operated, conducted, engaged in and carried on a

business venture in this state and/or maintained an office or agency in this state, and/or marketed,

advertised, distributed and/or sold products, committed a statutory violation within this state

related to the allegations made herein, and caused injuries to Plaintiff and putative Class


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Members, which arose out of the acts and omissions that occurred in the state of Illinois, during

the relevant time period, at which time Defendant was engaged in business activities in the state

of Illinois.

        29.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.§

1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more putative Class

Members, (ii) the aggregate amount in controversy exceeds $5,000,000, exclusive of interest

and costs, and (iii) there is minimal diversity because at least one Plaintiff and Defendant are

citizens of different states. This Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367.

        30.      Pursuant to 28 U.S.C. § 1391(a), venue is proper because a substantial part of the

events giving rise to the claims asserted occurred in this District. Venue is also proper pursuant

to 28 U.S.C. § 1391(c) because Defendant conducts substantial business in this District, has

sufficient minimum contacts with this District, and otherwise purposely avails itself of the

markets in this District, through the promotion, sale, and marketing of the Products in this

District.

                      FACTS COMMON TO ALL CLASS MEMBERS

A. Johnson & Johnson’s Business.

        31.      In 1886, Johnson & Johnson was founded to develop medical devices,

pharmaceuticals, and consumer products.

        32.      Johnson & Johnson boasts that its corporation includes over 250 subsidiary

companies with operations in 60 countries and worldwide sales over 70 billion dollars across

175 countries.

        33.      Johnson & Johnson’s brands include numerous well-known pharmaceutical,



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    medical device, and consumer product companies. In addition to OGX, Johnson & Johnson’s

    consumer brands include Neutrogena, Aveeno, Listerine, Band-Aid, Tylenol, and Johnson’s.

              34.   In 2016, Johnson & Johnson acquired Vogue International for US $3.3 billion in

    cash. The acquisition included many large beauty products, including the OGX line of products.

    At the time of the announcement, Johnson & Johnson claimed that the “acquisition of Vogue

    International's full line of leading advanced hair care products sold in the U.S. and in 38

    countries will strengthen our global presence in this important category. Vogue International's

    commitment to quality, innovation, and consumer preference complement our Consumer

    portfolio, while also presenting attractive hair care category growth opportunities for Johnson

    & Johnson.”3

              35.   Johnson & Johnson represents itself and its OGX brand to be a global “leader in

    the hair industry with its award-winning shampoos, conditioners and hair stylers” and “designed

    for consumers who want to make better choices about the products they use and lifestyle they

    live.”4

              36.   As part of its OGX brand, Johnson & Johnson sells the Products at issue here.

    B. DMDM Hydantoin and Johnson & Johnson’s Broken Promise to Remove it from
       Personal Care Products.

              37.   There are numerous preservatives that are used in cosmetics and hair products,

    including formaldehyde donors; many of which have been linked to the development of


3
  See Press Release, “Johnson & Johnson Announces Agreement to Acquire Vogue
International”, dated June 2, 2016, found at
https://www.prnewswire.com/news-releases/johnson--johnson-announces-agreement-to-acquire-
vogue-international-300278443.html (last accessed on June 7, 2021).
4
  See Press Release, “ OGX Beauty Launches New Global Campaign, Inspiring Everyone to
Rock What You Got”, dated April 10, 2017, found at https://www.prnewswire.com/news-
releases/ogx-beauty-launches-new-global-campaign-inspiring-everyone-to-rock-what-you-got-
300437544.html (last accessed June 7, 2021)


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    allergies, dermatitis, hair loss, and even cancer.

           38.     Specifically, formaldehyde donors are preservatives that are “added to water-

    containing cosmetics (which includes personal care products/toiletries) to prevent the growth of

    micro-organisms that may enter during manufacture or during their usage.” 5

           39.     Despite having intimate knowledge of the risks of using formaldehyde donor

    preservatives since at least 2012, Johnson & Johnson continues to use formaldehyde donors,

    DMDM hydantoin (also known as DMDM-h) and sodium hydroxyl, in its OGX products despite

    removing the preservative from nearly all other consumer products in 2015.

           40.     “DMDM hydantoin (dimethylodimethyl hydantoin) is a formaldehyde donor

    used as a preservative in cosmetic products at concentrations up to 1%.” 6 In other words, it is a

    formaldehyde-releasing preservative (“FRP”) used to lengthen the shelf life of personal care

    products, including hair products.

           41.     “An important source of human skin contact with formaldehyde is the use of

    cosmetics containing formaldehyde-releasers as preservatives.” 7

           42.     In personal care products, such as shampoo, “formaldehyde can be added

    directly, or more often, it can be released from preservatives such as… DMDM hydantoin.”

    Specifically, the formaldehyde donor will “release small amounts of formaldehyde over time.” 8




5
  de Groot AC, White IR, Flyvholm MA, Lensen G, Coenraads PJ. Formaldehyde-releasers in
cosmetics: relationship to formaldehyde contact allergy. Part 1. Characterization, frequency and
relevance of sensitization, and frequency of use in cosmetics. Contact Dermatitis. 2010
Jan;62(1):2-17. doi: 10.1111/j.1600-0536.2009.01615.x. PMID: 20136875.
6
  “Patch test reactivity to DMDM hydantoin, Relationship to formaldehyde allergy.” By Anton
C. DeGroot, Theodoor Van Joost, Jan D. Bos, Harrie L.M. Van Der Meeren, and J. Willem
Weyland (Contact Dermatitis, 1988, 18:197-201).
7
  De Groot AC, supra note 15.
8
  http://www.safecosmetics.org/get-the-facts/chemicals-of-concern/formaldehyde/ (Last
Accessed June 7, 2021).


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           43.      “In 1984, DMDM hydantoin ranked 9th in the list of the most frequently used

    cosmetic preservatives in the USA.”9 By 1987, DMDM hydantoin (or “DMDMH” for short)

    was included in approximately 115 product formulas filed with the FDA, most frequently in

    shampoos.10

           44.      “DMDMH was the 21st most common allergen in the 2005-2006 NACDG

    standard series. DMDMH is a preservative that contains 0.5% to 2% free formaldehyde and over

    17% combined formaldehyde.”11

           45.      For many decades, since the 1970’s, if not earlier, studies and patch tests were

    being performed to determine human reactivity to DMDM hydantoin, 12 including specifically

    the “relationship between contact allergy to formaldehyde,” including “test reactions to DMDM

    hydantoin.”13

           46.      One study performed in 1987 specifically examined “whether the presence of

    DMDM hydantoin in cosmetics may cause adverse effects in patients pre-sensitized to

    formaldehyde.”14 The conclusion even more than twenty years ago was that “aqueous solutions

    of DMDM hydantoin, in concentrations comparable to those used in cosmetic products, contain

    enough free formaldehyde to cause dermatitis…,” and that despite earlier conclusions that



9
  “Patch test reactivity to DMDM hydantoin, Relationship to formaldehyde allergy.” By Anton
C. DeGroot, Theodoor Van Joost, Jan D. Bos, Harrie L.M. Van Der Meeren, and J. Willem
Weyland (Contact Dermatitis, 1988, 18:197-201).
10
   Id.
11
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2958195/ (citing Rietschel RL, Fowler JF., Jr
. Fisher's Contact Dermatitis. 5th ed. Philadelphia: Lippincott Williams & Wilkins; 2001).
12
   Tudela E, MacPherson C, Maibach HI. Long-term trend in patch test reactions: a 32-year
statistical overview (1970-2002), part II. Cutan Ocul Toxicol. 2008;27(3):187-202. doi:
10.1080/15569520802143436. PMID: 18988088.
13
   “Patch test reactivity to DMDM hydantoin, Relationship to formaldehyde allergy.” By Anton
C. DeGroot, Theodoor Van Joost, Jan D. Bos, Harrie L.M. Van Der Meeren, and J. Willem
Weyland (Contact Dermatitis, 1988, 18:197-201).
14
   Id.


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 DMDM hydantoin is a safe cosmetic ingredient, “data suggest that an increase in the use of this

 preservative may also increase the risk of cosmetic dermatitis in patients allergic to

 formaldehyde.”15 The authors further suggest that cosmetic products with FRPs should have

 warnings that the products “’contain formaldehyde’… whether present as free formaldehyde or

 bound by a donor.”16

        47.     Several more recent studies, including a 2015 study “determined that longer

 storage time and higher temperature increase the amount of formaldehyde released from FRPs

 and could ultimately lead to more severe health concerns.” 17

        48.     In other words, “reactions that generated formaldehyde occur silently as the

 products sit on shelves in stores or bathroom cabinets.” 18

        49.     Formaldehyde is a known human carcinogen and is recognized as such by the

 United States National Toxicology Program and the International Agency for Research on

 Cancer.19

        50.     In 2009, prior to the sale of the Products, “a review of the literature on

 occupational exposures and formaldehyde shows a link between formaldehyde and leukemia.” 20



15
   Id.
16
   Id.
17
   http://www.safecosmetics.org/get-the-facts/chemicals-of-concern/formaldehyde/ (last accessed
June 7, 2021). (citing Lv, C., Hou, J., Xie, W., & Cheng, H. (2015). Investigation on
formaldehyde release from preservatives in cosmetics. International journal of cosmetic
science.).
18
   https://www.ewg.org/research/exposing-cosmetics-cover-up#formaldehyde (last accessed June
7, 2021).
19
   http://www.safecosmetics.org/get-the-facts/chemicals-of-concern/formaldehyde/ (last accessed
June 7, 2021) (citing International Agency for Research on Cancer. “IARC classifies
formaldehyde as carcinogenic to humans.” Press release. June 15, 2004. Accessed January 9,
2009.).
20
   http://www.safecosmetics.org/get-the-facts/chemicals-of-concern/formaldehyde/ (last accessed
June 7, 2021) (Zhang et al 2009. Meta-analysis of formaldehyde and hematologic cancers in
humans. Mutation Research 681: 150-168).


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        51.     In June 2011, the National Toxicology Program, an interagency program of the

 Department of Health and Human Services, named formaldehyde as a known human carcinogen

 in its 12th Report on Carcinogens.21

        52.     With specific regard to FRPs, like DMDM hydantoin, “the formaldehyde

 released from FRPs has been linked to cancer, but there is little evidence that FRPs directly

 cause cancer. However, a mixture of the FRP bromopol and amines, which form nitrosamines,

 has been found to penetrate skin and cause cancer.”22

        53.     Further, a study in 2010 concluded that although “[i]t has been long accepted that

 formaldehyde-releaser sensitization is attributable to released formaldehyde. However, clinical

 studies show the existence of patients allergic to formaldehyde-releasers but not to

 formaldehyde itself.”23 That same study found DMDM hydantoin to be “reactive per se.”

        54.     Consequently, it is unsurprising that DMDM hydantoin is considered by the U.S.

 Food & Drug Administration as one of the top allergens “that cause the most allergic reactions

 from the use of cosmetic products.” 24

        55.     Specifically, DMDM hydantoin can “trigger the immune system to release

 chemical substances such as antibodies,” resulting in reactions such as itchiness, red rashes on




21
   “12th Report on Carcinogens.” Society of Environmental Journalists.
https://www.sej.org/library/health/12th-report-carcinogens (last accessed on June 7, 2021).
22
   http://www.safecosmetics.org/get-the-facts/chemicals-of-concern/formaldehyde/ (Last
Accessed June 7, 2021) (citing to http://www.cosmeticsinfo.org/nitrosamines. Accessed
September 23, 2015).
23
   Kireche M, Gimenez-Arnau E, Lepoittevin JP. Preservatives in cosmetics: reactivity of
allergenic formaldehyde-releasers towards amino acids through breakdown products other than
formaldehyde. Contact Dermatitis. 2010 Oct;63(4):192-202. doi: 10.1111/j.1600-
0536.2010.01770.x. Epub 2010 Aug 20. PMID: 20731691.
24
   https://www.fda.gov//cosmetics/cosmetics-ingredients/allergens-cosmetics (last accessed June
7, 2021).


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 the skin, or more extreme reactions.25

         56.     Further, as a person becomes more exposed to an irritant over time, including

 DMDM hydantoin, the likelihood and severity of the reaction increase. This is called irritant

 contact dermatitis (“ICD”), which “can occur in any person if the amount and duration of irritant

 exposure are sufficient to cause direct epidermal keratinocyte damage.” 26

         57.     Likewise, the irritation of the scalp, including dermatitis, has been linked to hair

 brittleness and hair loss. Specifically,

       [A number of observations have found that premature hair loss may be caused by
       the poor scalp health associated with either dandruff and seborrheic dermatitis, or
       psoriasis, indicating that the effect on the preemergent hair fiber may alter the
       anchoring force of the fiber with the follicle, as evidenced by an increased
       proportion both of catagen and telogen, and of dysplastic anagen hairs (anagen
       hairs devoid of hair root sheaths) in the trichogram (hair pluck). 27

         58.     In 2012, following formaldehyde being identified as a carcinogen by the National

 Toxicology Program, Johnson & Johnson announced that it would “remove a host of potentially

 harmful chemicals, like formaldehyde, from its line of consumer products by the end of 2015.”28

 [Emphasis Added].

         59.     Like many other beauty manufacturers, Johnson & Johnson has been using

 DMDM hydantoin as a preservative in its products since before 2011; and like many

 manufacturers moved away from toxic ingredients, including DMDM hydantoin, starting in

 2012. However, Johnson & Johnson continues to use this formaldehyde donor today in various




25
   Id.
26
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2958195/
27
   Trueb, Ralph M., Henry, Jim P., Davis, Mike G., and Schwartz, Jim R., Scalp Condition
Impacts Hair Growth and Retention via Oxidative Stress, Int J Trichology. 2018 Nov-Dec; 10(6):
262–270, doi: 10.4103/ijt.ijt_57_18.
28
   https://www.nytimes.com/2012/08/16/business/johnson-johnson-to-remove-formaldehyde-
from-products.html


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 OGX branded products.

        60.     Notably, despite continuing to use FRPs in its some adult products, Johnson &

 Johnson proudly announced to the public that FRPs, like DMDM hydantoin, were not used in

 baby care products.29

        61.     As Johnson & Johnson is aware, there is a litany of alternative preservatives that

 can be used in shampoos and cosmetics that do not release known human carcinogens and are

 non-synthetic, including:

                a. Glyoxylic acid (or derivatives thereof);

                b. Potassium sorbate and sorbic acid;

                c. Citric acid and its salts;

                d. Rosemary oil extract;

                e. Neem oil extract;

                f. Lavender oil;

                g. Grapefruit seed extract;

                h. Vinegars; and

                i. Others.

        62.     In addition to these alternatives, Johnson & Johnson also could have used lower

 levels of DMDM hydantoin; however, the risk of development and exacerbation of sensitivity

 or allergic reaction would still exist through repeated and prolonged use.

        63.     Upon information and belief, Johnson & Johnson uses alternative preservatives

 in other OGX products and, in fact, uses alternative preservatives in these exact OGX Products




29
  https://www.businesstoday.in/current/corporate/our-baby-shampoo-does-not-contain-
formaldehyde-johnson--johnson/story/354855.html (last accessed June 7, 2021).


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 that are sold in other countries.

 C. Johnson & Johnson’s Misrepresentations Regarding the OGX Products.

         64.     Johnson & Johnson took over production and manufacturing of the OGX

 Products in 2016. The Products were sold by Johnson & Johnson directly and through retail

 shops to consumers nationwide, including in Illinois.

         65.     The OGX Products state, on the front of the bottles’ labels, that the Products are

 formulated with various oils, fruits, and botanicals that are intended to nourish and revive

 damage or dry hair, add softness and shine, and prevent frizzing and tangling; and that the OGX

 Products “deeply nourish,” “gently cleanse,” and “repair hair.”

         66.     Plaintiff and the Class did not and would not expect that application of the

 Products would or could cause hair loss and scalp irritation upon proper application.

         67.     Plaintiff and the Class reasonably expected a warning regarding any potential

 hazard to consumers, especially because the Food, Drug and Cosmetic Act regulations provide

 that cosmetics that may be hazardous to consumers must bear appropriate warnings. 30

        68.      The Food and Drug Administration has written about the risks of formaldehyde

 and formaldehyde donors (like DMDM Hydantoin) in hair care and actively discourages home

 purchase of hair smoothing products such as Defendant’s Products. 31

         69.     Johnson & Johnson continues to this day to advise consumers that these Products

 are safe to use as directed, without providing any disclosure concerning the complaints of hair

 loss and with no warnings regarding the hair loss that may result from their continued use.




30
  See https://www.fda.gov/cosmetics/cosmetics-labeling/cosmetics-labeling-regulations
31
  https://www.fda.gov/consumers/consumer-updates/formaldehyde-hair-smoothing-products-
what-you-should-know?utm_medium=email&utm_source=govdelivery (last accessed June 7,
2021).


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Indeed, despite Johnson & Johnson’s knowledge and awareness of hundreds if not thousands of

online complaints of significant hair loss and breakage caused by the Products, Johnson &

Johnson continues to sell the Products without providing consumers with any revised warnings

or disclosures.

           70.    The Products are marketed and sold at retail stores such as CVS, Target,

Walgreens, Ulta, and Walmart, and through e-commerce websites such as Amazon.com,

CVS.com, Target.com, Walgreens.com, Ulta.com, and Walmart.com.

           71.    Defendant manufactures, advertises, markets, distributes and sells the Products

in several sizes throughout the United States, including in Illinois.

D. Defendant’s False and Deceptive Advertising and Labeling of the Products.

           72.    In violation of 21 U.S.C. § 362(a) and 21 C.F.R. § 701.1(b), Defendant has

consistently, falsely and deceptively advertised and labeled the Products in an effort to make

consumers believe that the Products’ ingredients, including DMDM hydantoin, were safe for

use.

           73.    Since launching the Products, Defendant has consistently conveyed its uniform,

deceptive message to consumers throughout the United States, including the state of Illinois,

that the Products formulated with formaldehyde donors, including DMDM hydantoin, are safe

for use.

           74.    These uniform deceptive claims have been made and repeated across a variety of

media including Defendant’s Products’ labels, websites and online promotional materials, and

at the point-of-purchase, where they cannot be missed by consumers. In truth, Defendant’s

claims that DMDM hydantoin is a safe ingredient are false, misleading, and deceptive because

the Products’ ingredients, including DMDM hydantoin, were not safe, caused serious scalp



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irritation and hair loss, and do not safely smooth, nourish, cleanse, and/or repair hair.

        75.     Upon information and belief, Johnson & Johnson knowingly permitted the

manufacture and sale of the Products that were dangerous and unfit for sale as temporary hair

“smoothing” products.

        76.     Prior to placing the Products into the stream of commerce for sale to Plaintiff and

the putative Class, Defendant was aware or should have been aware that the Products contained

one or more unsafe ingredients, including DMDM hydantoin, that could cause significant hair

loss and scalp irritation upon proper application and that any instructions and warnings provided

with the Products directly to consumers were materially insufficient.

        77.     Defendant knew, or but for its reckless indifference would have known, prior to

Plaintiff and the putative Class’s purchases of the Products that it would continue to receive

complaints of irritation, allergic reaction, and/or hair loss attributed to the Products.

        78.     Defendant knew, or but for its reckless indifference would have known, that: (a)

the risk of scalp irritation and hair loss was substantial, if not a certainty, (b) Johnson &

Johnson’s customers were unaware of that substantial risk, and (c) those customers had a

reasonable expectation that Johnson & Johnson would not sell the Products under those

conditions.

        79.     Despite such knowledge, Defendant did not disclose to prospective purchasers,

that there was a substantial risk of scalp irritation and hair loss associated with use of the

Products. Defendant instead continued to claim that the Products’ ingredients, including DMDM

hydantoin, were safe.

        80.     However, despite the representation that the Products “gently” cleanse, they

contain one or more ingredients, including DMDM hydantoin, that is a known formaldehyde



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donor that can cause scalp irritation and hair loss.

       81.       Defendant reinforces the false and deceptive claims that the Products “nourish”,

“smooth”, “revive”, “soften” and leave hair in great condition through the websites of various

authorized retailers and on its own product websites.

E. The Impact of Defendant’s False, Misleading and Deceptive Advertising.

       82.      Defendant intended for consumers to rely upon the representations on the

Products’ labels, and reasonable consumers, including Plaintiff and the Class, did, in fact, so

rely. These representations are often the only source of information consumers can use to make

decisions concerning whether to buy and use such products.

       83.      Consumers lack the ability to test or independently ascertain the genuineness of

product claims of normal everyday consumer products, especially at the point-of-sale.

Reasonable customers must therefore rely on consumer product companies, such as Defendant,

to honestly represent their Products and the Products’ attributes on the Products’ labels.

       84.      At all relevant times, Defendant directed the above-referenced Products’ labels,

statements, claims and innuendo – including that the Products gently smooth, clean, nourish,

strengthen, revive, and repair the hair, that the ingredients were safe – to consumers in general

and Plaintiff and all Class Members in particular, as evidenced by their eventual purchases of

the Products.

       85.      Plaintiff and Class Members did reasonably rely on Defendant’s Product labels,

statements, advertisements, claims and innuendo in deciding to purchase the Products and were

thereby deceived.

       86.      As a result of Defendant’s deceptive labeling and/or marketing campaign,

Defendant has caused Plaintiff and putative Class Members to purchase the Products, which



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contained one or more unsafe ingredients, including DMDM hydantoin, and do not safely

smooth, nourish, cleanse, and/or repair hair. Plaintiff and putative Class Members have been

harmed, as they would not have purchased the Products had they known the Products were not

safe and would or could cause scalp irritation and hair loss.

       87.    As a result of Defendant’s misconduct, Defendant was able to sell the Products to

at least thousands of consumers throughout the United States— including Plaintiff and putative

Class Members—and realized sizeable profits.

       88.    Plaintiff and putative Class Members were harmed and suffered actual damages

in that Plaintiff and putative Class Members did not receive the benefit of their bargain as

purchasers of the Products, which were represented as safe and can safely smooth, nourish,

cleanse, and/or repair hair. Indeed, Plaintiff and putative Class Members did not receive the

benefit of their bargain after purchasing the Products, as Plaintiff and putative Class Members

paid for Products that were unsafe, could cause scalp irritation and hair loss, and do not safely

smooth, nourish, cleanse, and/or repair hair.

       89.    Defendant developed and knowingly employed a labeling, advertising and/or

marketing strategy designed to deceive consumers into believing that the Products contain safe

ingredients and can safely smooth, nourish, cleanse, revive, and/or repair hair.

       90.    The purpose of Defendant’s scheme was to stimulate sales, engender public trust,

and enhance Defendant’s profits.

       91.    As the manufacturers, marketers, advertisers, distributors and/or sellers of the

OGX Products, Defendant possess specialized knowledge regarding the Products and the

content of the ingredients contained therein. In other words, Defendant knew exactly what is –

and is not – contained in the OGX Products, at what levels, and are safe or unsafe.




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       92.    Defendant knew or should have known, but failed to disclose, that the Products

contain one or more unsafe ingredients, including DMDM hydantoin, and do not safely smooth,

nourish, cleanse, revive, and/or repair hair, as labeled and/or marketed by Defendant.

       93.    Plaintiff and putative Class Members were, in fact, misled by Defendant’s

labeling, representations and marketing of the Products.

       94.    The unsafe ingredient(s) and the inability of the Products to safely smooth,

nourish, cleanse, revive, and/or repair hair, leave consumers, such as Plaintiff and the putative

Class with no reason to purchase these Products at all, since other proven and safer comparably

priced products exist.

       95.    The Products are defined as “cosmetics” under 21 U.S.C.S. § 321(i) of the Federal

Food Drug & Cosmetic Act (“FDCA”).

       96.    Defendant’s deceptive statements violate 21 U.S.C.S. § 362(a), which deems a

cosmetic product misbranded when the label contains a statement that is “false or misleading in

any particular.”

       97.    Also, the Illinois Consumer Fraud and Deceptive Business Practices Act protects

Defendant’s consumers, and provides:

       § 2. Unfair methods of competition and unfair or deceptive acts or practices,
       including but not limited to the use or employment of any deception, fraud, false
       pretense, false promise, misrepresentation or the concealment, suppression or
       omission of any material fact, with intent that others rely upon the concealment,
       suppression or omission of such material fact, or the use or employment of any
       practice described in Section 2 of the “Uniform Deceptive Trade Practices Act”,
       approved August 5, 1965, in the conduct of any trade or commerce are hereby
       declared unlawful whether any person has in fact been misled, deceived or
       damaged thereby.

815 ILCS 505/2.

       98.    The FDA promulgated regulations for compliance with the FDCA at 21 C.F.R.




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§§ 701 et seq. (for cosmetics).

       99.      The introduction of misbranded cosmetics into interstate commerce is prohibited

under the FDCA and all parallel state statutes cited in this Complaint.

       100. Plaintiff and putative Class Members would not have purchased the Products had

they known the Products contained one or more unsafe ingredients and are incapable of safely

smoothing, nourishing, cleansing, and/or repairing hair.

                         PLAINTIFF’S FACTUAL ALLEGATIONS

       101. Plaintiff, Larissa Whipple, purchased the Products during the class period in

Davis, Illinois. Before purchasing the Products, Plaintiff reviewed information about the

Products on the Products’ labels and the fact that the Products were being sold for personal use,

and not resale. At the time of purchasing her Products, Plaintiff also reviewed the accompanying

disclosures and marketing materials, and understood them as representations made by

Defendant that the Products were safe to smooth, nourish, cleanse, and/or repair hair. Plaintiff

relied on these representations and in deciding to purchase Defendant’s Products. Accordingly,

these representations were part of the basis of the bargain, in that she would not have purchased

the Products had she known these representations were not true. Here, Plaintiff did not receive

the benefit of her bargain because Defendant’s Products are not safe to smooth, nourish, cleanse,

and/or repair hair.

       102. Plaintiff purchased the Products because she wanted smooth, nourished, and

healthy hair.

       103. Before using the Products, Plaintiff followed the instructions on the Products’

labels, as directed by Defendant.




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       104. Plaintiff reasonably expected that the Products she purchased would and could not

cause scalp irritation or hair loss. Further, Plaintiff reasonably expected that if Johnson &

Johnson, the company primarily responsible for developing, manufacturing, marketing and

distributing the OGX Products, knew that the Products would or could cause hair loss, Johnson

& Johnson would make a disclosure to consumers as soon as it determined there was a

widespread problem, rather than attempting to conceal the problem.

       105. As a result of Johnson & Johnson’s concealment, misrepresentations and

omissions, Plaintiff purchased the Products. Had Plaintiff known the true nature of the Products,

she would not have purchased the Products.

                       ESTOPPEL FROM PLEADING AND
              TOLLING OF APPLICABLE STATUTES OF LIMITATIONS

       106. Plaintiff and members of the putative Classes are within the applicable statute of

limitation for the claims presented here. Defendant had knowledge and information detailing

the Products’ propensity to cause or contribute to hair loss and/or scalp irritation, but failed to

disclose this information to consumers. Plaintiff and members of the putative Classes, therefore,

could not reasonably have known that the Products would cause or contribute to hair loss and

scalp irritation. Rather, consumers relied upon Defendant’s misrepresentations and omissions,

including the statements on the Products’ labeling as set forth above.

       107. Once Plaintiff incurred damages, she promptly acted to preserve her rights, filing

this action. Defendant is estopped from asserting any statute of limitation defense that might

otherwise be applicable to the claims asserted herein.

                             CLASS ACTION ALLEGATIONS

       108.    Plaintiff brings this action on behalf of herself and the following Classes pursuant



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 to Federal Rule of Civil Procedure 23(a), (b)(2) and/or (b)(3). Specifically, the Classes are

 defined as:

                    National Class: All persons in the United States who purchased
                    the Products.

                    Consumer Fraud Multi-State Class: All persons in the States
                    of California, Florida, Illinois, Massachusetts, Michigan,
                    Minnesota, Missouri, New Jersey, New York, and Washington
                    who purchased the Products.32

                    Illinois Sub-Class: All persons in the State of Illinois who
                    purchased the Products.

          109.      Excluded from the Classes are (a) any person who purchased the Products for

 resale and not for personal or household use, (b) any person who signed a release of any

 Defendant in exchange for consideration, (c) any officers, directors or employees, or immediate

 family members of the officers, directors or employees, of any Defendant or any entity in which

 a Defendant has a controlling interest, (d) any legal counsel or employee of legal counsel for

 any Defendant, and (e) the presiding Judge in this lawsuit, as well as the Judge’s staff and their

 immediate family members.

          110.      Plaintiff reserves the right to amend the definition of the Classes if discovery or

 further investigation reveals that the Classes should be expanded or otherwise modified.

          111.      Numerosity – Federal Rule of Civil Procedure 23(a)(1). Class Members are

 so numerous and geographically dispersed that joinder of all Class Members is impracticable.



32
   The Illinois Consumer Fraud and Deceptive Business Practices Act (the “ICFA”), 815 ILCS 505/1, et seq.,
prohibits the use of unfair or deceptive business practices in the conduct of trade or commerce within the State of
Illinois. The States in the Consumer Fraud Multi-State Class are limited to those states with similar consumer fraud
laws under the facts of this case as alleged herein: California (Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla.
Stat. § 501.201 et seq.); Illinois (815 ILCS 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A et seq.);
Michigan (Mich. Comp. Laws § 445.901 et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo. Rev.
Stat. § 407.010 et seq.); New Hampshire (N.H. Rev. Stat. § 358-A:1); New York, (N.Y. Gen Bus. Law Secs. 349
and 350); New Jersey (N.J. Stat. § 56:9-1, et seq.); Rhode Island (R.I. Gen. L. Ch. 6-13.1); Washington (Wash. Rev.
Code § 19.86010, et seq.) and Wisconsin (WIS. STAT. § 100.18, et seq.).


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While the exact number of Class Members remains unknown at this time, upon information and

belief, there are thousands, if not hundreds of thousands, of putative Class Members. Moreover,

the number of members of the Classes may be ascertained from Defendant’s books and records.

Class Members may be notified of the pendency of this action by mail and/or electronic mail,

which can be supplemented if deemed necessary or appropriate by the Court with published

notice.

          112.   Predominance of Common Questions of Law and Fact – Federal Rule of

Civil Procedure 23(a)(2) and 23(b)(3). Common questions of law and fact exist as to all Class

Members and predominate over any questions affecting only individual Class Members. These

common legal and factual questions include, but are limited to, the following:

                 a. Whether the Products contain the defect alleged herein;

                 b. Whether Defendant failed to appropriately warn Class Members of the
                    damage that could result from use of the Products;

                 c. Whether Defendant had actual or imputed knowledge of the defect but did
                    not disclose it to Plaintiff and the Classes;

                 d. Whether Defendant promoted the Products with false and misleading
                    statements of fact and material omissions;

                 e. Whether Defendant’s marketing, advertising, packaging, labeling, and/or
                    other promotional materials for the Products are deceptive, unfair or
                    misleading;

                 f. Whether Defendant’s actions violate the state consumer fraud statutes
                    invoked below;

                 g. Whether Defendant’s actions and omissions violate Illinois law;

                 h. Whether Defendant’s conduct violates public policy;

                 i. Whether Defendant’s acts, omissions or misrepresentations of material facts
                    constitute fraud;

                 j. Whether Plaintiff and putative members of the Classes have suffered an



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                   ascertainable loss of monies or property or other value as a result of
                   Defendant’s acts, omissions or misrepresentations of material facts;

               k. Whether Defendant was unjustly enriched at the expense of Plaintiff and
                  members of the putative Classes in connection with the Products;

               l. Whether Plaintiff and members of the putative Classes are entitled to
                  monetary damages and, if so, the nature of such relief; and

               m. Whether Plaintiff and members of the putative Classes are entitled to
                  equitable, declaratory or injunctive relief and, if so, the nature of such relief.

       113.    Pursuant to Rule 23(b)(2), Defendant has acted or refused to act on grounds

generally applicable to the putative Classes, thereby making final injunctive or corresponding

declaratory relief appropriate with respect to the putative Classes as a whole. In particular,

Defendant has manufactured, marketed, advertised, distributed and sold Products that are

deceptively misrepresented as being able to safely smooth, nourish, cleanse, and/or repair hair.

       114.    Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of those of the absent Class Members in that Plaintiff and the Class Members each

purchased and used the Products and each sustained damages arising from Defendant’s wrongful

conduct, as alleged more fully herein. Plaintiff shares the aforementioned facts and legal claims

or questions with putative members of the Classes, and Plaintiff and all members of the putative

Classes have been similarly affected by Defendant’s common course of conduct alleged herein.

Plaintiff and all members of the putative Classes sustained monetary and economic injuries

including, but not limited to, ascertainable loss arising out of Defendant’s deceptive

misrepresentations regarding the ability of the Products to safely smooth, nourish, cleanse,

and/or repair hair, as alleged herein.

       115.    Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiff will fairly and

adequately represent and protect the interests of the members of the putative Classes. Plaintiff




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has retained counsel with substantial experience in handling complex class action litigation,

including complex questions that arise in this type of consumer protection litigation. Further,

Plaintiff and her counsel are committed to the vigorous prosecution of this action. Plaintiff does

not have any conflicts of interest or interests adverse to those of putative Classes.

       116.    Insufficiency of Separate Actions – Federal Rule of Civil Procedure

23(b)(1). Absent a class action, Plaintiff and members of the Classes will continue to suffer the

harm described herein, for which they would have no remedy. Even if separate actions could be

brought by individual consumers, the resulting multiplicity of lawsuits would cause undue

burden and expense for both the Court and the litigants, as well as create a risk of inconsistent

rulings and adjudications that might be dispositive of the interests of similarly situated

consumers, substantially impeding their ability to protect their interests, while establishing

incompatible standards of conduct for Defendant. Accordingly, the proposed Classes satisfy the

requirements of Fed. R. Civ. P. 23(b)(1).

       117.    Declaratory and Injunctive Relief – Federal Rule of Civil Procedure

23(b)(2). Defendant has acted or refused to act on grounds generally applicable to Plaintiff and

all Members of the Classes, thereby making appropriate final injunctive relief and declaratory

relief, as described below, with respect to the members of the Classes as a whole.

       118.    Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available methods for the fair and efficient adjudication of the present

controversy for at least the following reasons:

               a. The damages suffered by each individual members of the putative Classes
                  do not justify the burden and expense of individual prosecution of the
                  complex and extensive litigation necessitated by Defendant’s conduct;

               b. Even if individual members of the Classes had the resources to pursue
                  individual litigation, it would be unduly burdensome to the courts in which



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                        the individual litigation would proceed;

                   c. The claims presented in this case predominate over any questions of law or
                      fact affecting individual members of the Classes;

                   d. Individual joinder of all members of the Classes is impracticable;

                   e. Absent a Class, Plaintiff and members of the putative Classes will continue
                      to suffer harm as a result of Defendant’s unlawful conduct; and

                   f. This action presents no difficulty that would impede its management by the
                      Court as a class action, which is the best available means by which Plaintiff
                      and members of the putative Classes can seek redress for the harm caused by
                      Defendant.

          119.     In the alternative, the Classes may be certified for the following reasons:

                   a. The prosecution of separate actions by individual members of the Classes
                      would create a risk of inconsistent or varying adjudication with respect to
                      individual members of the Classes, which would establish incompatible
                      standards of conduct for Defendant;

                   b. Adjudications of claims of the individual members of the Classes against
                      Defendant would, as a practical matter, be dispositive of the interests of other
                      members of the putative Classes who are not parties to the adjudication and
                      may substantially impair or impede the ability of other putative Class
                      Members to protect their interests; and

                   c. Defendant has acted or refused to act on grounds generally applicable to the
                      members of the putative Classes, thereby making appropriate final and
                      injunctive relief with respect to the putative Classes as a whole.

                                           CLAIMS FOR RELIEF

                                               COUNT I
                                Violation Of State Consumer Fraud Acts
                                 (On Behalf Of The Multi-State Class)

          120.     Plaintiff repeats and re-alleges all proceeding factual allegations above as if fully

 set forth herein.

          121.     The Consumer Fraud Acts of the States in the Multi-State Class 33 prohibit the


33
  The Illinois Consumer Fraud and Deceptive Business Practices Act (the “ICFA”), 815 ILCS 505/1, et seq.,
prohibits the use of unfair or deceptive business practices in the conduct of trade or commerce within the State of


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 use of unfair or deceptive business practices in the conduct of trade or commerce.

          122.      Defendant intended that Plaintiff and each of the other members of the Multi-

 State Class would rely upon its deceptive conduct, and a reasonable person would in fact be

 misled by this deceptive conduct.

          123.      Had the truth been known, Plaintiff and other Multi-State Class Members would

 not have purchased Defendant’s Products, or would not have paid as much for the Products.

          124.      As a result of the Defendant’s use or employment of unfair or deceptive acts or

 business practices, Plaintiff and each of the other members of the Multi-State Class have

 sustained damages in an amount to be proven at trial.

          125.      In addition, Defendant’s conduct showed malice, motive, and the reckless

 disregard of the truth such that an award of punitive damages is appropriate.

                                             COUNT II
                          Violation of the Illinois Consumer Fraud Act
                 (On Behalf of the Illinois Sub-Class, in the alternative to Count I)

          126.      Plaintiff repeats and realleges all proceeding factual allegations above as if fully

 set forth herein.

          127.      The Illinois Consumer Fraud and Deceptive Business Practices Act (the

 “ICFA”), 815 ILCS 505/1, et seq., prohibits the use of unfair or deceptive business practices in

 the conduct of trade or commerce. The ICFA is to be liberally construed to effectuate its purpose.

          128.      Plaintiff and other members of the Illinois Sub-Class, as purchasers of the

 Products, are consumers within the meaning of the ICFA given that Defendant’s business


Illinois. The States in the Consumer Fraud Multi-State Class are limited to those states with similar consumer fraud
laws under the facts of this case as alleged herein: California (Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla.
Stat. § 501.201 et seq.); Illinois (815 ILCS 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A et seq.);
Michigan (Mich. Comp. Laws § 445.901 et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo. Rev.
Stat. § 407.010 et seq.); New Hampshire (N.H. Rev. Stat. § 358-A:1); New York, (N.Y. Gen Bus. Law Secs. 349
and 350); New Jersey (N.J. Stat. § 56:9-1, et seq.); Rhode Island (R.I. Gen. L. Ch. 6-13.1); Washington (Wash. Rev.
Code § 19.86010, et seq.) and Wisconsin (WIS. STAT. § 100.18, et seq.).


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activities involve trade or commerce, are addressed to the market generally and otherwise

implicate consumer protection concerns.

       129.    Defendant’s conduct in misrepresenting the benefits of its Products constitute the

act, use and employment of deception, fraud, false pretenses, false promises, misrepresentation,

and unfair practices in the conduct of Defendant’s trade or commerce.

       130.    Defendant also knowingly concealed, suppressed, and consciously omitted

material facts to Plaintiff and other members of the Illinois Sub-Class knowing that consumers

would rely on the advertisements and packaging and Defendant’s uniform representations to

purchase the Products.

       131.    Once the defect in the Products and its tendency to cause hair loss and/or scalp

irritation despite proper application (or based upon foreseeable misapplication) became apparent

to Defendant, consumers (Plaintiff and other members of the putative Illinois Sub-Class) were

entitled to disclosure of that fact because a significant risk of hair loss and/or scalp irritation

would be a material fact in a consumer’s decision-making process, and, without Defendant’s

disclosure consumers would not necessarily know that there is such a risk.

       132.    Defendant intended that Plaintiff and the Illinois Sub-Class would rely on the

continued deception by purchasing the Products, unaware of the material facts and omissions

described above. Defendant knew that its customers would continue to rely on its representations

that the Products were safe when used as directed, and knew that consumers would continue to

rely upon its silence as to any known risk of hair loss and/or scalp irritation as evidence that the

Products were safe. This conduct constitutes consumer fraud within the meaning of the ICFA.

       133.    Defendant’s     material   non-disclosure    set   forth   above    constitutes   an

unconscionable commercial practice, deception, fraud, false promise, misrepresentation and/or




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omission of material facts as to the nature of the goods, in violation of the ICFA.

       134.     Plaintiff and the other members of the Illinois Sub-Class suffered damages as a

proximate result of the unfair acts or practices of Defendant alleged herein. Defendant’s

misrepresentations and/or omissions of material fact were done knowingly, intentionally,

willfully or with reckless disregard for the consequences of its actions.

       135.     Plaintiff and other members of the Illinois Sub-Class would not have purchased

the Products but for the promised benefits and concealment of any risk of harm because the

Products as sold had no intrinsic value to them

       136.     Defendant knowingly accepted the benefits of its deception and improper

conduct in the form of profits from the increased sale of the Products.

       137.     As a proximate result of the above-described violations of the ICFA, Plaintiff

and other members of the Illinois Sub-Class: (a) purchased and used the Products when they

would not otherwise have done so; (b) suffered economic losses consisting of the cost of

purchasing the Products; and (c) suffered and/or will suffer additional economic losses in

repairing and restoring the damage caused by the Products.

       138.     Defendant’s conduct showed malice, motive, and the reckless disregard of the

truth such that an award of punitive damages is appropriate.

       139.     Plaintiff also seeks to enjoin Defendant’s ongoing deceptive practices relating to

their claims on the Products’ labels and advertising.



                                          COUNT III
               Violation of the Illinois Uniform Deceptive Trade Practice Act
                                     ILCS §§ 510/2, et seq.
              (On Behalf of the Illinois Sub-Class, in the alternative to Count I)

       140. Plaintiff repeats and realleges all proceeding factual allegations above as if fully



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set forth herein.

       141. Plaintiff brings this claim on behalf of herself and the Illinois Sub-Class for

violations of the Illinois Uniform Deceptive Trade Practices Act, ILCS §§ 510/2, et seq.

       142. Defendant constitutes a “person” as defined by 815 ILCS §§ 510/1(5).

       143. Defendant engaged in deceptive trade practices in the conduct of their business, in

violation of 815 ILCS §§ 510/2(a), including:

                a. Defendant represented to Plaintiff and the Class that the Products had

                    approval or characteristics that it did not have;

                b. Defendant represented to Plaintiff and the Class that the Products were of a

                    particular standard, quality, or grade when they were actually of another;

                c. Defendant advertised to Plaintiff and the Class goods with intent not to sell

                    them as advertised;

                d. Defendant engaged in other fraudulent or deceptive conduct creating a

                    likelihood of confusion or misunderstanding; and

                e. Defendant represented that consumers’ purchases of the Products conferred

                    or involved rights that the transactions did not have or involve.

       144. As described herein, Defendant repeatedly advertised, both on the Product labels

and on its website, through a national advertising campaign, among other items, that the Products

were hair “smoothing” Products and that the Products were safe to smooth, nourish, cleanse or

repair hair.

       145. Contrary to these representations, the Products are not appropriate hair

“smoothing” products and are not capable of safely smoothing, nourishing, cleansing, or

repairing hair as described on the Product labels or in Defendant’s uniform marketing and




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advertising campaign. Rather, the Products are defective because their inclusion of DMDM

hydantoin gives the Products the propensity to cause, and have caused, adverse reactions, such

as hair loss, scalp redness, and scalp irritation, rendering the Products unsafe and unsuitable for

consumer use as marketed by Defendant.

       146. Defendant had exclusive knowledge of material facts concerning the defective

nature of the Products, including that they had the propensity to cause, and had caused these

adverse reactions.

       147. Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

       148. The above unfair and deceptive practices and acts by Defendant were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and

Illinois Sub-Class members that they could not reasonably avoid; this substantial injury

outweighed any benefits to consumers or to competition.

       149. As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff and Illinois Sub-Class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in purchasing Defendant’s Products, and increased

time and expense in treating damages caused by the Products.

       150. Plaintiff and Illinois Sub-Class members seek all monetary and non-monetary

relief allowed by law, including injunctive relief and reasonable attorney’s fees.

                                         COUNT IV
                                            Fraud
                             (On Behalf of the Nationwide and/or
                                     Illinois Sub-Class)

       151.    Plaintiff repeats and realleges all proceeding factual allegations above as if fully



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set forth herein.

        152.    Plaintiff brings this cause of action on behalf of herself, the Nationwide Class

and/or the Illinois Sub-Class against Defendant.

        153.    As alleged herein, Defendant, Johnson & Johnson, knowingly made material

misrepresentations and omissions regarding the Products on the Products’ labeling and

packaging in the Products’ advertisements, and/or on its website.

        154.    Defendant made these material misrepresentations and omissions in order to

induce Plaintiff and putative Class Members to purchase the Products.

        155.    Rather than inform consumers that the Products contained a defect that caused

hair loss upon proper application and did not otherwise perform as represented and for the

particular purpose for which it was intended, Defendant claims in marketing materials and its

marketing campaign for the Products that the Products will “smooth,” “deeply nourish,” “gently

cleanse,” and “repair hair,” in order to mislead consumers that the Products have the ability to

safely smooth, nourish, cleanse, and/or repair hair.

        156.    The inclusion of the defect that causes hair loss and/or scalp irritation upon

proper application renders the Products unable to safely smooth, nourish, cleanse, and repair

hair.

        157.    Defendant knew the Products were incapable of safely smoothing, nourishing,

cleansing, and/or repairing hair, but nevertheless made such representations through the

marketing, advertising and on the Products’ labeling. In reliance on these and other similar

misrepresentations, Plaintiff and putative Class Members were induced to, and did, pay monies

to purchase the Products.

        158.    Had Plaintiff and the Class known the truth about the Products, they would not




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have purchased the Products.

        159.    As a proximate result of the fraudulent conduct of Defendant, Plaintiff and the

putative Class paid monies to Defendant, through their regular retail sales channels, to which

Defendant are not entitled, and have been damaged in an amount to be proven at trial.

                                          COUNT V
                                    Unjust Enrichment
                             (On Behalf of the Nationwide and/or
                                     Illinois Sub-Class)

        160.    Plaintiff repeats and realleges all proceeding factual allegations above as if fully

set forth herein.

        161.    Plaintiff brings this cause of action on behalf of herself, and the putative Classes

against Defendant.

        162.    Plaintiff and putative Class Members conferred a benefit on Defendant when

they purchased the Products, of which Defendant had knowledge. By its wrongful acts and

omissions described herein, including selling the Products, which contain a defect that caused

hair loss upon proper application and did not otherwise perform as represented and for the

particular purpose for which they were intended, Defendant was unjustly enriched at the expense

of Plaintiff and putative Class Members.

        163.    Plaintiff’s detriment and Defendant’s enrichment were related to and flowed

from the wrongful conduct challenged in this Complaint.

        164.    Defendant has profited from its unlawful, unfair, misleading, and deceptive

practices at the expense of Plaintiff and putative Class Members under circumstances in which

it would be unjust for Defendant to be permitted to retain the benefit. It would be inequitable for

Defendant to retain the profits, benefits, and other compensation obtained from its wrongful

conduct as described herein in connection with selling the Products.


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       165.    Defendant has been unjustly enriched in retaining the revenues derived from

Class Members’ purchases of the Products, which retention of such revenues under these

circumstances is unjust and inequitable because Defendant manufactured defective Products,

and Johnson & Johnson misrepresented the nature of the Products, misrepresented their

ingredients, and knowingly marketed and promoted dangerous and defective Products, which

caused injuries to Plaintiff and the Class because they would not have purchased the Products

based on the same representations if the true facts concerning the Products had been known.

       166.    Plaintiff and putative Class Members have been damaged as a direct and

proximate result of Defendant’s unjust enrichment because they would not have purchased the

Products on the same terms or for the same price had they known the true nature of the Products

and the mis-statements regarding what the Products were and what they contained.

       167.    Defendant either knew or should have known that payments rendered by Plaintiff

and putative Class Members were given and received with the expectation that the Products

were able to safely nourish, cleanse, and repair hair as represented by Defendant in advertising,

on Defendant’s websites, and on the Products’ labels and packaging. It is inequitable for

Defendant to retain the benefit of payments under these circumstances.

       168.    Plaintiff and putative Class Members are entitled to recover from Defendant all

amounts wrongfully collected and improperly retained by Defendant.

       169.    When required, Plaintiff and Class Members are in privity with Defendant

because Defendant’s sale of the Products was either direct or through authorized sellers.

Purchase through authorized sellers is sufficient to create such privity because such authorized

sellers are Defendant’s agents for the purpose of the sale of the Products.

       170.    As a direct and proximate result of Defendant’s wrongful conduct and unjust




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enrichment, Plaintiff and putative Class Members are entitled to restitution of, disgorgement of,

and/or imposition of a constructive trust upon all profits, benefits, and other compensation

obtained by Defendant for their inequitable and unlawful conduct.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated

members of the Classes, prays for relief and judgment, including entry of an order:

  A. Declaring that this action is properly maintained as a class action, certifying the proposed
     Class(es), appointing Plaintiff as Class Representative and appointing Plaintiff’s counsel
     as Class Counsel;

  B. Directing that Defendant bear the costs of any notice sent to the Class(es);

  C. Declaring that Defendant must disgorge, for the benefit of the Class(es), all or part of the
     ill-gotten profits they received from the sale of the Products, or order Defendant to make
     full restitution to Plaintiff and the members of the Class(es);

  D. Awarding restitution and other appropriate equitable relief;

  E. Granting an injunction against Johnson & Johnson to enjoin it from conducting its
     business through the unlawful, unfair and fraudulent acts or practices set forth herein;

  F. Granting an Order requiring Johnson & Johnson to fully and appropriately recall the
     Products, to remove the claims on its website and elsewhere that the Products are safe to
     use, and to fully and properly disclose the safety risks associated with the Products to
     anyone who may still be at risk of buying and using the Products;

  G. Ordering a jury trial and damages according to proof;

  H. Awarding Plaintiff and members of the Class(es) statutory damages, as provided by the
     applicable state consumer protection statutes invoked above;

  I. Enjoining Defendant from continuing to engage in the unlawful and unfair business acts
     and practices as alleged herein;

  J. Awarding attorneys’ fees and litigation costs to Plaintiff and members of the Class(es);

  K. Awarding civil penalties, prejudgment interest and punitive damages as permitted by law;
     and



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  L. Ordering such other and further relief as the Court deems just and proper.

                                       JURY DEMAND

       Plaintiff demands a trial by jury of all claims in this Complaint so triable.


Dated: June 7, 2021                          Respectfully submitted,

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